273 F.2d 614
    Aaron OSTROFSKY, Joseph Henderson, William H. Wood andBenjamin M. Fino, Appellants,v.UNITED STEELWORKERS OF AMERICA, A.F.L.-C.I.O., and UnitedSteelworkers of America, Local Unions Nos. 2609and 2610, and Bethlehem Steel Company, Appellees.
    No. 7905.
    United States Court of Appeals Fourth Circuit.
    Argued Jan. 5, 1960.Decided Jan. 7, 1960.
    
      Fred E. Weisgal and Bernard W. Rubenstein, Baltimore, Md., for appellants.
      Jerry D. Anker, Washington, D.C.  (Arthur J. Goldberg, David E. Feller, Washington, D.C. Jacob J. Edelman, and Marshall A. Levin, Baltimore, Md., on the brief), for United Steelworkers of America, appellee.
      Ralph L. McAfee, New York City (H. Vernon Eney, Baltimore, Md., John H. Morse, New York City, Russell R. Reno, Jr., Venable, Baetjer &amp; Howard, Baltimore, Md., Thomas D. Barr, Frank Cummings, and Cravath, Swaine &amp; Moore, New York City, on the brief), for Bethlehem Steel Co., appellee.
      Before SOBELOFF, Chief Judge, and HAYNSWORTH and BOREMAN, Circuit judges.
      PER CURIAM.
    
    
      1
      For the reason that the plaintiffs utterly failed to cooperate with the union, as clearly showin in the opinion of the District Court, 171 F.Supp. 782, we think the union was neither unreasonable nor arbitrary in refusing to prosecute the grievances of the plaintiffs.  Consequently, no right of action has accrued to them against the union or against their former employer.
    
    
      2
      Affirmed.
    
    